     Case 1:21-cv-03126-TOR          ECF No. 11    filed 02/15/22     PageID.71 Page 1 of 7




 1


 9


 3


 4

 5
 6
                       IN THE UNITED STATES DISTRICT COURT FOR THE
 7                           EASTERN DISTRICT OF WASHINGTON
 8
         UNITED STATES OF AMERICA,                      CASE NO. 21-cv-03126-TOR

              Plaintiff,
10

11
                           VS.                        ANSWER AND AFFIRMATIVE
                                                      DEFENSES
12       RICK GRAY and GRAY FARMS &
         CATTLE COMPANY, LLC,
13
              Defendants.
14

15

1.6             COME NOW Defendants RICK GRAY and GRAY FARMS &
17
        CATTLE COMPANY, LLC, and for their Answer to the Complaint filed
18

19      against them, admit, deny, and aver as follows:

20              A.         ANSWER
21
                1.         The allegations set forth in Complaint ¶1 do not allege any
22

23      conduct of either defendant and therefore does not require an Answer from
24
        Defendants. Defendants nevertheless deny the allegations set forth in
25
         Answer and Affirmative Defenses               WAID LAW OFFICE, PLLC
         Page 1 of 2                                   5400 CALIFORNIA AVENUE SW, SUITE D
                                                       SEATTLE, WA 98136
                                                       206.388.1926
Case 1:21-cv-03126-TOR          ECF No. 11   filed 02/15/22   PageID.72 Page 2 of 7




 1   Complaint ¶1 for lack of sufficient information upon which to justify a
2
     reasonable belief and/or out of an abundance of caution.
3

4           2.      Defendants deny the allegations set forth in Complaint ¶2.

5           3.      Defendants deny the allegations set forth in Complaint ¶3.
6
            4.      Defendants admit that the Court has jurisdiction over this
 7
8    matter and that venue is proper in this Court but deny each and every
9
     remaining allegation set forth in set forth in Complaint ¶4 of the
1O

11
     Complaint.

12          5.      Defendants admit that the Court has jurisdiction over this
13
     matter and that venue is proper in this Court but deny each and every
14

15   remaining allegation set forth in set forth in Complaint ¶5 of the

16          6.      Defendants admit the allegations set forth in Complaint ¶6.
17
            7.      The allegations set forth in Complaint ¶7 merely allege
18

19   conclusions of law and do not require an Answer by defendants.
20
     Defendants nevertheless deny the allegations set forth in Complaint ¶7
21
     out of an abundance of caution and for lack of sufficient information
22

23   upon which to justify a reasonable belief.
24

25
      Answer and Affirmative Defenses            WAID LAW OFFICE, PLLC
      Page 2 of 2                                5400 CALIFORNIA AVENUE SW, SUITE D
                                                 SEATTLE, WA 98136
                                                 206.388.1926
 Case 1:21-cv-03126-TOR         ECF No. 11   filed 02/15/22   PageID.73 Page 3 of 7




1          8.        The allegations set forth in Complaint ¶8 merely allege
2
     conclusions of law and do not require an Answer by defendants.
3
4    Defendants nevertheless deny the allegations set forth in Complaint ¶8

5    out of an abundance of caution and for lack of sufficient information
6
     upon which to justify a reasonable belief.
 7
8           9.       Defendants deny the allegations set forth in Complaint ¶9 for
9
     lack of sufficient information upon which to justify a reasonable belief.
1O

11
            10.      Defendants admit that Defendant Rick T. Gray was a resident

12   of the Eastern District of Washington with wheat farming operations in
13
     Klickitat County, Washington, located in the Eastern District of
14

15   Washington. Defendants further admit that Defendant Rick T. Gray sought

16   and received federally reinsured crop insurance for his wheat famring
17
     operations in 2015 and/or 2016. Defendants deny the remaining
18
19   allegations set forth in Complaint ¶10, including those for which
2O
     Defendants lack sufficient information upon which to justify a reasonable
21
     belief.
22

23             11.   Defendants admit that Gray Farms & Cattle Co., LLC is a
24

25
      Answer and Affirmative Defenses            WAID LAW OFFICE, PLLC
      Page 3 of 2                                5400 CALIFORNIA AVENUE SW, SUITE D
                                                 SEATTLE, WA 98136
                                                 206.388.1926
 Case 1:21-cv-03126-TOR         ECF No. 11   filed 02/15/22   PageID.74 Page 4 of 7




 1   limited liability company incorporated in the State of Washington, with its
2
     principal place of business in the Eastern District of Washington and that
3
4    Defendant Rick T. Gray is currently the manager of Defendant Gray Farms

5    & Cattle Co., LLC. Defendants deny the remaining allegations set forth in
6
     Complaint ¶11, including those for which Defendants lack sufficient
 7
8    information upon which to justify a reasonable belief.
9            12.    The allegations set forth in Complaint ¶¶12-31 merely allege
10
11
     conclusions of law and do not require an Answer by defendants.

12   Defendants nevertheless deny the allegations set forth in Complaint ¶¶12-
13
     31out of an abundance of caution and for lack of sufficient information
14

15   upon which to justify a reasonable belief.

16           13.    Defendants admit that Gray Farms & Cattle Co. obtained
17
     federally insured loans for its wheat operations in Klickitat County,
i8
19   Washington on various occasions, and that the loan documentation is the
20
     best evidence of those loans. Defendants nevertheless deny the allegations
21
     set forth in Complaint ¶¶32-44 pending discovery and for lack of sufficient
22

23   information upon which to justify a reasonable belief.
24

25
      Answer and Affirmative Defenses            WAID LAW OFFICE, PLLC
      Page 4 of 2
                                                 5400 CALIFORNIA AVENUE SW, SUITE D
                                                 SEATTLE, WA 98136
                                                 206.388.1926
 Case 1:21-cv-03126-TOR         ECF No. 11   filed 02/15/22   PageID.75 Page 5 of 7




1           14.    Defendants deny the allegations set forth in Complaint ¶¶45-
2
     47 and places Plaintiff on strict proof thereof, because Columbia State
3
4    Bank—and not Defendants—changed the operator from Gray Farms to

5    Gray Land & Cattle Co.
6
            15.    Defendants deny the allegations set forth in Complaint ¶¶48-
 7
8    73 and places Plaintiff on strict proof thereof.
9
            16.    Defendants deny the allegations set forth in Complaint ¶¶74-
1O
11
     101 and place Plaintiff on strict proof thereof.

12          B.      Affirmative Defenses
13
            17.     Plaintiff must prove its allegations of fraud by clear and
14

15   convincing evidence.

16          18.     Failure to state a claim upon which relief may be granted.
17
            19.     Defendants followed the instructions provided to them by
18

19   Columbia State Bank, Farm Service Agency, and Manley Crop Insurance,
2O
     including relative to 2015 and 2016, in connection with "old wheat" from
21
     prior year(s) which was never co-mingled with "new wheat" from a current
22

23   crop year.
24

25
      Answer and Affirmative Defenses            WAID LAW OFFICE, PLLC
      Page 5 of 2                                5400 CALIFORNIA AVENUE SW, SUITE D
                                                 SEATTLE, WA 98136
                                                 206.388.1926
Case 1:21-cv-03126-TOR         ECF No. 11     filed 02/15/22     PageID.76 Page 6 of 7




 1
            20.     Statute of limitations;
9

            21.     Third party fault in that Manley Crop Insurance, RMA and/or
3

4    RCIS falsified documents which have given rise to the allegations against

5    defendants.
6
            22.     Defendants reserve the right to supplement and amend this
 7
8    Answer, including by addition of such other and different defenses as may
9
     be available to them or either one of them.
1O
11          WHEREFORE Defendants pray that the Complaint against them be

12   dismissed, with prejudice, taxing all costs against the Plaintiff, and an
13
     award of such other and different relief as the Court may deem just and
14

15   equitable, including an award of reasonable attorney fees if allowed under

16
     applicable law.
17
            DATED: February 15, 2022.
18
                                        WAID LAW OFFICE, PLLC
19
                                        BY:    /s/Brian J. Waid
2O
                                                BRIAN J. WAID
21                                              WSBA No. 26038
                                                Attorney for Defendants
22                                              [Limited Engagement]
23

24

25
      Answer and Affirmative Defenses             WAID LAW OFFICE, PLLC
      Page 6 of 2                                 5400 CALIFORNIA AVENUE SW, SUITE D
                                                  SEATTLE, WA 98136
                                                  206.388.1926
Case 1:21-cv-03126-TOR         ECF No. 11       filed 02/15/22    PageID.77 Page 7 of 7




 1                               CERTIFICATE OF SERVICE
2
             I hereby certify that on February 15, 2022, I served a copy of foregoing
3    pleading on all counsel of record through their respective attorneys of record via the
     Court's ECF delivery system.
4
            Dated:    February 15, 2022.
 5
6                                                  WAID LAW OFFICE, PLLC

 7                                                 BY:     /s/ Brian J. Waid
                                                          BRIAN J. WAID
8                                                         WSBA No. 26038
                                                          Attorney for Defendants
9                                                         [Limited Engagement]
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
      Answer and Affirmative Defenses                WAID LAW OFFICE, PLLC
      Page 7 of 2                                    5400 CALIFORNIA AVENUE SW, SUITE D
                                                     SEATTLE, WA 98136
                                                     206.388.1926
